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1           LAW OFFICES OF
     CHRISTOPHER H. WING
2    A PROFESSIONAL CORPORATION
          1101 E STREET
3     SACRAMENTO, CA 95814
                     441-4888
                State Bar #063214
4

5    ATTORNEYS FOR:           Defendant
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8                                    IN THE UNITED STATES DISTRICT COURT

9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA                         No. 2:06-cr-0356 FCD
12                                     Plaintiff,
                                                      ORDER CONTINUING HEARING
13         v.                                         FROM AUGUST 20, 2007, AT 10:00
                                                      AM. TO AUGUST 27, 2007 AT 10:00
14                                                    AM; EXCLUSION OF TIME
     SAM WANG CHAO
15                                   Defendant,

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                                                    ORDER
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            This matter having come on before me pursuant to the stipulation of the parties
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     filed August 17, 2007 and good cause appearing therefore,
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            IT IS ORDERED THAT: the Hearing now set for August 20, 2007, is vacated and
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     the matter set for a status conference on, August 27, 2007, at 10:00 am.
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                            Case 2:06-cr-00356-MCE Document 57 Filed 08/20/07 Page 2 of 2


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               2             Further, the Court finds that the defendants' need for additional time to prepare

               3      exceeds the public interest in a trial within 70 days and, therefore, the interests of justice

               4      warrant a further exclusion of time until the hearing on August 27, 2007. Based upon

               5      this finding and the representations of the parties, the Court excludes time from

               6      August 20, 2007, pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(B)(iv), Local

               7      Code T4 (time to allow sufficient time for counsel to prepare), until the next appearance

               8      on August 27, 2007, or by further order of this Court.

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             10       Dated: August 17, 2007
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             12                                              _______________________________________
                                                             FRANK C. DAMRELL, JR.
             13                                              UNITED STATES DISTRICT JUDGE
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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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